Case: 6:17-cV-00157-CHB-HA| Doc #: 8 Filed: 07/24/17 Page: 1 of 3 - Page |D#: 51

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastem District of Kentucky

Southem Division at London

DAV|D WILSON. as Administrator of the Estate of
Lisa Noble, Deceased

 

PIa/mw'(s)

V- Civil Action No. 6217-157-KKC

BEACON TRANSPORT, LLC and
TERRAN COOPER

 

Dekndam(s)
SUMMONS IN A ClVlL AC'I`ION

TOZ (quendanr 's name and addres.r) Terl'an Coope\’
1 134 Shorl|eave Avenue
Smyma. Tennessee 37167

A lawsuit has been filed against you.

Within 21 days alter service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Ru|e 12 of
the Federal Rules ofCivil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: Tlmothy D. Lange, Benson. Risch & Lange. PLLC, 401 W. Main Street. Suite 2150

Loulsvi|le, Kentucky 40202; D. Randal| Jewe||. Jewe|l Law Office, PLLC,
P. O. Drawer 670, Barbourville. Kentucky 40906; and Bil|y J. Taylor. Taylor Law
Oflice, PLLC. 110 Knox Slreet. Suite A. Barbourvi|le, Kentucky 40906

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must tile your answer or motion with the court.

     

,"`;.J" `~_,/’
cLERK 0£,. QQUR;
l'- .`. .`";|." ‘:: f ;';;' .:.` ,‘I .\l
Date: ____O§QQ/LL__ _R°b€l't R. caff, Cle!k

 

ll §i§xalwe of Clerk or Deputy q]erlj,’
.‘ \_l_ v _ ‘..;./,

kja

\ .

 

Case: 6:17-cV-00157-CHB-HA| Doc #: 8 Filed: 07/24/17 Page: 2 of 3 - Page |D#: 52

AO 440 (Rev. 06/12) Summons in a Civil Aetion (Page 2)
Civil Action N'o. 6:17-157-KKC

PROOF OF SERV|CE
(Tln's section should not be jiled with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SUmmOnS for (name of individual and lit/e, l;fan)) (I;W$/ ULFE/Q
was received by me on (daze) 6 7103 »/l j .
/ //éK/&[W

g l personally served the summons on the individual at (place) _:/,;)*£é:@[q}`/ ;/ d
diet ./)F_.¥K' Waf/e.@,;l_a»w¢»w/M a own _Q_Z<z_t¢)v_ :<>r

Cl l left the summons at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

on (dale) , and mailed a copy to the individua|’s last known address; or

0 l served the summons on (name ofindividual} , who is

 

designated by law to accept service of process on behalf of (name aforganlzatian)

 

 

on (dare) ; or
0 1 returned the summons unexecuted because ; or
Cl Other (specifw.~
My fees are S for travel and $ for services, for a total of S 0_00

1 declare under penalty of perjury that this information is true.

Date: M__ IW//’<;

 

 

Server's signature -,
2ksz /77//1//< / pax/f 555 L/,<
Prr'nled name and title
/ /
2 7 76 pmk '/_1.'._,.(‘[ _ML/@_féa»_j£
Server's address ?7 / Z J/

Additional information regarding attempted service, etc:

Case: 6:17-cV-00157-CHB-HA| Doc #: 8 Filed: 07/24/17 Page: 3 of 3 - Page |D#: 53

Affldavit of Service

I, David Miller of Expedited Process Service, 2746 Portside Dr, Murfreesboro, TN, did
personally serve Terran Cooper, at Beacon Transport, located at 451 Mason Rd Lavergne
TN 37086 on 07-18-2017 at ll:52arn. Terran Was handed the following documents:

l. Surnrnons

  

¢Q~//~//?

Date

3

 

l certify that not a party to the above cited action,
and that l am over 21 years of age.

STATE OF TENNESSEE
COUNTY OF RUTHERFORD

Personally appeared before me, the undersigned authority, a Notary Public in and
For the State and County aforesaid, David Miller, the Within named, With Whom I arn
personally acquainted, (or proved to me on the basis of satisfactory evidence), and he

acknowledged that he executed the within instrument for the purposes therein contained

WITNESS MY HAND and official seal on this the 20 day of < iLLh '[ , 2017.

01 mic CJM¢U/v

V NOPRY PUBLIC

 

My Commission Expires: 1b1 Q/ l cl

 

